Case 2:17-cv-00603-JTT-KK Document 4 Filed 08/14/17 Page 1 of 2 PageID #: 13




                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF LOUISIANA

TONY DUPLICHAN,                              )
                                             )
       Plaintiff,                            )   Civil Action No.: 2:17-cv-603
                                             )
       v.                                    )   Judge: Unassigned
                                             )
FIRST NATIONAL COLLECTION                    )   Magistrate Judge: Kathleen Kay
BUREAU, INC.,                                )
                                             )
       Defendant.                            )

            NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

       Plaintiff, Tony Duplichan, (“Plaintiff”), through his attorney, Scott, Vicknair, Hair

& Checki, LLC, informs this Honorable Court that Plaintiff voluntarily dismisses this case,

with prejudice, and with both sides to bear their own costs. Dismissal is appropriate

pursuant to Fed. R. Civ. P. 41 because the defendant never filed responsive pleadings or a

motion for summary judgment.

Dated: August 14, 2017                    Respectfully submitted,


                                          /s/ Samuel J. Ford
                                          Samuel J. Ford, Esq. (#36081)
                                          Scott, Vicknair, Hair & Checki, LLC
                                          909 Poydras St., Ste. 1100
                                          New Orleans, LA 70112
                                          ford@svhclaw.com
                                          Phone: (504) 684-5200
                                          Fax: (504) 613-6351
                                          Attorney for Plaintiff
Case 2:17-cv-00603-JTT-KK Document 4 Filed 08/14/17 Page 2 of 2 PageID #: 14




                           CERTIFICATE OF SERVICE

      On August 14, 2017, I electronically filed this Notice of Voluntary Dismissal with

the Clerk of the U.S. District Court, using the CM/ECF system. I electronically mailed a

copy of the filed Notice of Voluntary Dismissal to Defendant through its representative,

Issa Moe (issa.moe@fncbinc.com).



                                        /s/ Samuel J. Ford
                                        Samuel J. Ford, Esq. (#36081)




                                           2
